     Case 6:12-cv-01928-RBD-GJK Document 4-2 Filed 01/04/13 Page 1 of 10 PageID 161




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

                           Plaintiff,

v.                                                                          Case No.


                           Defendant.



                            CASE MANAGEMENT REPORT
        The parties have agreed on the following dates and discovery plan pursuant to

Fed.R.Civ.P. 26(f) and Local Rule 3.05(c):



DEADLINE OR EVENT                                                     AGREED DATE
Mandatory Initial Disclosures (pursuant to Fed.R.Civ.P. 26(a)(1) as
amended effective December 1, 2000)
[Court recommends 30 days after CMR meeting]
Certificate of Interested Persons and Corporate Disclosure
Statement [each party who has not previously filed must file
immediately]
Motions to Add Parties or to Amend Pleadings
[Court recommends 1 - 2 months after CMR meeting]
Disclosure of Expert Reports                         Plaintiff:
                                                  Defendant:
[Court recommends last exchange 6 months before trial and 1 - 2
months before discovery deadline to allow expert depositions]
Discovery Deadline
[Court recommends 6 months before trial to allow time for
dispositive motions to be filed and decided; all discovery must be
commenced in time to be completed before this date]
Dispositive Motions, Daubert, and Markman Motions [Court
recommends no less than 5 months before trial]
  Case 6:12-cv-01928-RBD-GJK Document 4-2 Filed 01/04/13 Page 2 of 10 PageID 162




DEADLINE OR EVENT                                                         AGREED DATE
Joint Final Pretrial Statement (Including a Single Set of
Jointly-Proposed Jury Instructions and Verdict Form (with CD or
emailed to chambers_FLMD_Dalton@flmd.uscourts.gov), Voir
Dire Questions, Witness Lists, Exhibit Lists with Objections on
Approved Form) Trial Briefs [Court recommends 4 weeks before
Final Pretrial Conference]
All Other Motions Including Motions In Limine [Court recommends
3 weeks before Final Pretrial Conference]
Final Pretrial Conference [Court will set a date that is approximately
3 weeks before trial]
Trial Term Begins
[Local Rule 3.05 (c)(2)(E) sets goal of trial within 1 year of filing
complaint in most Track Two cases, and within 2 years in all Track
Two cases; trial term must not be less than 4 months after
dispositive motions deadline (unless filing of such motions is
waived.
Estimated Length of Trial [trial days]
Jury / Non-Jury
Mediation                                              Deadline:
                                                       Mediator:
                                                       Address:

                                                     Telephone:

[Absent arbitration, mediation is mandatory; Court recommends
either 2 - 3 months after CMR meeting, or just after discovery
deadline]
All Parties Consent to Proceed Before Magistrate Judge                   Yes____ No____

                                                                         Likely to Agree in
                                                                         Future _____
      Case 6:12-cv-01928-RBD-GJK Document 4-2 Filed 01/04/13 Page 3 of 10 PageID 163



I.        Meeting of Parties in Person

          Lead counsel must meet in person and not by telephone absent an order permitting

otherwise. Counsel will meet in the Middle District of Florida, unless counsel agree on a

different location. Pursuant to Local Rule 3.05(c)(2)(B) or (c)(3)(A),1 a meeting was held in

person on _________________                      (date)   at                                         (time)   at

(place)   and was attended by:

                     Name                                              Counsel for (if applicable)




II.       Pre-Discovery Initial Disclosures of Core Information

          Fed.R.Civ.P. 26(a)(1)(A) - (D) Disclosures

          Fed.R.Civ.P. 26, as amended effective December 1, 2010, provides that these

disclosures are mandatory in Track Two and Track Three cases, except as stipulated by the

parties or otherwise ordered by the Court (the amendment to Rule 26 supersedes Middle District

of Florida Local Rule 3.05, to the extent that Rule 3.05 opts out of the mandatory discovery

requirements):

          The parties __ have exchanged __ agree to exchange (check one) information described in

Fed.R.Civ.P. 26(a)(1)(A) - (D) by                                         (date).

          Below is a description of information disclosed or scheduled for disclosure.




            1
                A copy of the Local Rules may be viewed at http://www.flmd.uscourts.gov.
  Case 6:12-cv-01928-RBD-GJK Document 4-2 Filed 01/04/13 Page 4 of 10 PageID 164



      III.      Electronic Discovery

      The parties have discussed issues relating to disclosure or discovery of electronically

stored information ("ESI"), including Pre-Discovery Initial Disclosures of Core Information in

Section II above, and agree that (check one):

      __       no party anticipates the disclosure or discovery of ESI in this case;

      __       one or more of the parties anticipate the disclosure or discovery of ESI in this case.

      If disclosure or discovery of ESI is sought by any party from another party, then the

following issues shall be discussed:2

      A. The form or forms in which ESI should be produced.

      B.      Nature and extent of the contemplated ESI disclosure and discovery, including

specification of the topics for such discovery and the time period for which discovery will be

sought.

      C. Whether the production of metadata is sought for any type of ESI, and if so, what

types of metadata.

      D. The various sources of ESI within a party's control that should be searched for ESI,

and whether either party has relevant ESI that it contends is not reasonably accessible under

Rule 26(b)(2)(B), and if so, the estimated burden or costs of retrieving and reviewing that

information.

      E. The characteristics of the party's information systems that may contain relevant ESI,

including, where appropriate, the identity of individuals with special knowledge of a party's

computer systems.

      F.      Any issues relating to preservation of discoverable ESI.


          2
              See Generally: Rules Advisory Committee Notes to the 2006 Amendments to Rule 26(f) and Rule 16.
  Case 6:12-cv-01928-RBD-GJK Document 4-2 Filed 01/04/13 Page 5 of 10 PageID 165



       G.    Assertions of privilege or of protection as trial-preparation materials, including

whether the parties can facilitate discovery by agreeing on procedures and, if appropriate, an

Order under Federal Rules of Evidence Rule 502. If the parties agree that a protective order is

needed, they shall attach a copy of the proposed order to the Case Management Report. The

parties should attempt to agree on protocols that minimize the risk of waiver. Any protective

order shall comply with Local Rule 1.09 and Section IV.F. below on Confidentiality Agreements.

       H. Whether the discovery of ESI should be conducted in phases, limited, or focused upon

particular issues.

       Please state if there are any areas of disagreement on these issues and , if so,

summarize the parties' positions on each:

_____________________________________________________________________

______________________________________________________________________

______________________________________________________________________

       If there are disputed issues specified above, or elsewhere in this report, then (check one):

       ___    one or more of the parties requests that a preliminary pre-trial conference under

Rule 16 be scheduled to discuss these issues and explore possible resolutions. Although this

will be a non-evidentiary hearing, if technical ESI issues are to be addressed, the parties are

encouraged to have their information technology experts with them at the hearing.

       If a preliminary pre-trial conference is requested, a motion shall also be filed pursuant to

Rule 16(a), Fed.R.Civ.P.

       ___    all parties agree that a hearing is not needed at this time because they expect to be

able to promptly resolve these disputes without assistance of the Court.
  Case 6:12-cv-01928-RBD-GJK Document 4-2 Filed 01/04/13 Page 6 of 10 PageID 166



IV.      Agreed Discovery Plan for Plaintiffs and Defendants

         A.        Certificate of Interested Persons and Corporate Disclosure Statement

              This Court has previously ordered each party, governmental party, intervenor,

      non-party movant, and Rule 69 garnishee to file and serve a Certificate of Interested

      Persons and Corporate Disclosure Statement using a mandatory form. No party may

      seek discovery from any source before filing and serving a Certificate of Interested

      Persons and Corporate Disclosure Statement. A motion, memorandum, response, or

      other paper C including emergency motion C is subject to being denied or stricken

      unless the filing party has previously filed and served its Certificate of Interested Persons

      and Corporate Disclosure Statement. Any party who has not already filed and served

      the required certificate is required to do so immediately.

              Every party that has appeared in this action to date has filed and served a

      Certificate of Interested Persons and Corporate Disclosure Statement, which remains

      current:

                                  _______ Yes

                                  _______ No

      Amended Certificate will be filed by ____________________ (party) on or before

      __________________ (date).

              B.      Discovery Not Filed

              The parties shall not file discovery materials with the Clerk except as provided in

      Local Rule 3.03. The Court encourages the exchange of discovery requests on diskette.

      See Local Rule 3.03 (f). The parties further agree as follows:
Case 6:12-cv-01928-RBD-GJK Document 4-2 Filed 01/04/13 Page 7 of 10 PageID 167




        C.     Limits on Discovery

        Absent leave of Court, the parties may take no more than ten depositions per side

 (not per party). Fed.R.Civ.P. 30(a)(2)(A); Fed.R.Civ.P. 31(a)(2)(A); Local Rule 3.02(b).

 Absent leave of Court, the parties may serve no more than twenty-five interrogatories,

 including sub-parts. Fed.R.Civ.P. 33(a); Local Rule 3.03(a). Absent leave of Court or

 stipulation of the parties each deposition is limited to one day of seven hours.

 Fed.R.Civ.P. 30(d)(2). The parties may agree by stipulation on other limits on discovery.

 The Court will consider the parties= agreed dates, deadlines, and other limits in entering

 the scheduling order. Fed.R.Civ.P. 29. In addition to the deadlines in the above table,

 the parties have agreed to further limit discovery as follows:

               1.     Depositions




               2.     Interrogatories




               3.     Document Requests




               4.     Requests to Admit
Case 6:12-cv-01928-RBD-GJK Document 4-2 Filed 01/04/13 Page 8 of 10 PageID 168



               5.     Supplementation of Discovery




        D.     Discovery Deadline

        Each party shall timely serve discovery requests so that the rules allow for a

 response prior to the discovery deadline. The Court may deny as untimely all motions to

 compel filed after the discovery deadline. In addition, the parties agree as follows:




        E.     Disclosure of Expert Testimony

        On or before the dates set forth in the above table for the disclosure of expert

 reports, the parties agree to fully comply with Fed.R.Civ.P. 26(a)(2) and 26(e). Expert

 testimony on direct examination at trial will be limited to the opinions, basis, reasons,

 data, and other information disclosed in the written expert report disclosed pursuant to

 this order. Failure to disclose such information may result in the exclusion of all or part of

 the testimony of the expert witness.       The parties agree on the following additional

 matters pertaining to the disclosure of expert testimony:




        F.     Confidentiality Agreements

        Whether documents filed in a case may be filed under seal is a separate issue from

 whether the parties may agree that produced documents are confidential. The Court is a

 public forum, and disfavors motions to file under seal. The Court will permit the parties to
Case 6:12-cv-01928-RBD-GJK Document 4-2 Filed 01/04/13 Page 9 of 10 PageID 169



 file documents under seal only upon a finding of extraordinary circumstances and

 particularized need. See Brown v. Advantage Engineering, Inc., 960 F.2d 1013 (11th

 Cir. 1992); Wilson v. American Motors Corp., 759 F.2d 1568 (11th Cir. 1985). A party

 seeking to file a document under seal must file a motion to file under seal requesting such

 Court action, together with a memorandum of law in support. The motion, whether

 granted or denied, will remain in the public record.

          The parties may reach their own agreement regarding the designation of materials

 as Aconfidential.@      There is no need for the Court to endorse the confidentiality

 agreement. The Court discourages unnecessary stipulated motions for a protective

 order.        The Court will enforce appropriate stipulated and signed confidentiality

 agreements.        See Local Rule 4.15.    Each confidentiality agreement or order shall

 provide, or shall be deemed to provide, that Ano party shall file a document under seal

 without first having obtained an order granting leave to file under seal on a showing of

 particularized need.@ With respect to confidentiality agreements, the parties agree as

 follows:

          G.      Other Matters Regarding Discovery C




 VI.      Settlement and Alternative Dispute Resolution.

          A.      Settlement C

                  The parties agree that settlement is _____    likely ______ unlikely

                         (check one)

                  The parties request a settlement conference before a United States

 Magistrate Judge.             yes           no             likely to request in future
Case 6:12-cv-01928-RBD-GJK Document 4-2 Filed 01/04/13 Page 10 of 10 PageID 170



        B.     Arbitration

               The Local Rules no longer designate cases for automatic arbitration, but the

 parties may elect arbitration in any case. Do the parties agree to arbitrate?

                   yes                   no                     likely to agree in future

        _______ Binding                          ________       Non-Binding

        C.     Mediation

               Absent arbitration or a Court order to the contrary, the parties in every case

 will participate in Court-annexed mediation as detailed in Chapter Nine of the Court=s

 Local Rules. The parties have agreed on a mediator from the Court=s approved list of

 mediators as set forth in the table above, and have agreed to the date stated in the table

 above as the last date for mediation. The list of mediators is available from the Clerk,

 and is posted on the Court=s web site at http://www.flmd.uscourts.gov.

        D.     Other Alternative Dispute Resolution C

        The parties intend to pursue the following other methods of alternative dispute

 resolution:


 Date: _____________________

 Signature of Counsel (with information required by Local Rule 1.05(d)) and Signature of
 Unrepresented Parties.


 _________________________________               _________________________________

 _________________________________               _________________________________

 _________________________________               _________________________________

 _________________________________               _________________________________
